                                                             Case 3:21-cv-03957-EMC Document 57 Filed 03/22/22 Page 1 of 11




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                                                8
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                                                9

                                               10                              UNITED STATES DISTRICT COURT
                                               11                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                               12
                                                                                        )             Case No.: 3:21-cv-03957-EMC
                                               13 STEVE MORALES an individual; and S.M.
                                                    a minor, by and through their guardian ad )
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                                                    litem, WENDY CHAU;                        )       PLAINTIFFS’ OPPOSITION TO
                                               14
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                                                                                              )
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                                                                                                      DEFENDANT CCSF’S MOTION TO
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                                                                    Plaintiffs,               )       DISMISS THE THIRD AMENDED
                                               15
                                                                                              )       COMPLAINT
                                                    v.                                        )
                                               16
                                                                                              )
                                                                                              )       Hon. Edward M. Chen
                                               17   CITY AND COUNTY OF SAN                    )
                                                    FRANCISCO, a municipal corporation;       )
                                               18   RUSSELL FONG, in his individual capacity )
                                                                                                      Hearing Date: April 14, 2022
                                                    as a law enforcement officer for the CITY )
                                               19                                                     Time:         1:30 p.m.
                                                    OF SAN FRANCISCO; RYAN LAU, in his )              Place:        Via Zoom
                                                    individual capacity as a law enforcement  )
                                               20
                                                    officer for the CITY OF SAN               )
                                               21   FRANCISCO; and DOES 1-50, inclusive. )
                                                                                              )
                                                                    Defendants.               )
                                               22

                                               23

                                               24

                                               25



                                                                                     PLTF OPP TO DEF CCSF MTD
                                                                                      Morales, et al. v. CCSF, et al.
                                                                                                     1
                                                              Case 3:21-cv-03957-EMC Document 57 Filed 03/22/22 Page 2 of 11




                                                                           I.   INTRODUCTION
                                                1
                                                             Defendants filed another motion to dismiss that relies almost exclusively on trying to pin
                                                2

                                                3 Plaintiffs to prior pleadings rather than their operative complaint, because Plaintiffs’ Third

                                                4 Amended Complaint has pled sufficient factual material and allegation to proceed.

                                                5            Defendants also suggest that it is gamesmanship to amend pleadings to conform to

                                                6 evidence as a party learns it. In fact, the rules are quite the opposite: Plaintiff has the obligation

                                                7 to allege facts that conform to the evidence he learns in discovery rather than proceed in bad

                                                8
                                                    faith.
                                                9
                                                             Ironically, Defendants even attached and quoted the 911 call that corroborates Plaintiffs’
                                               10
                                                    amended allegations: hotel security reported ““a guy come in very hot, agitated, not a guest, was
                                               11
                                                    with a female, demanding to go up to the room and get his kid. She looked like she was afraid of
                                               12
                                                    him. We couldn’t stop him.” (Def. Mtn. at ECF 53, p. 10).
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                                                             It is undisputed based on this evidence that a child custody issue was never raised. And there
                                               14
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                                                    is certainly not enough information to sustain a detention for a domestic dispute where it is alleged a
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                                               15
                                                    person appeared upset with the security about not letting him enter the hotel and wanting to retrieve
                                               16
                                                    his child. Essentially, the very evidence Defendants seek to introduce to support their motion
                                               17
                                                    dismantles it. The Court should DENY the motion in its entirety.
                                               18

                                               19                         II.   PROCEDURAL CONTEXT

                                               20            On January 20, 2022, this Court heard the Defendant’s motion to dismiss Plaintiffs’

                                               21 Second Amended Complaint (hereinafter “SAC”). ECF No. 29. In this hearing, Plaintiffs’

                                               22 counsel informed the Court that well after filing the SAC, he had received video records and

                                               23 other documents from Defendant CCSF pertaining to the incident underlying this case. ECF No.

                                               24
                                                    49; Declaration of Patrick Buelna “Buelna Decl.”)
                                               25



                                                                                           PLTF OPP TO DEF CCSF MTD
                                                                                            Morales, et al. v. CCSF, et al.
                                                                                                           2
                                                             Case 3:21-cv-03957-EMC Document 57 Filed 03/22/22 Page 3 of 11




                                                           On February 22, 2022, Plaintiffs filed their Third Amended Complaint (hereinafter
                                                1
                                                    “TAC”). (ECF No. 52). Plaintiffs’ TAC is informed by the records produced by Defendant
                                                2

                                                3 CCSF after the SAC had already been filed and thus differs from the SAC in a number of ways

                                                4 because it reflects the new information Plaintiffs gained between the filings of the SAC and the

                                                5 TAC. (Buelna Decl.) The differences between these complaints include the removal of the Hilton

                                                6 Hotel operator as a defendant in the TAC and the addition of information pertaining to the

                                                7 Defendant Officers’ basis (or lack thereof) for detaining Plaintiff Steve Morales. Compare ECF

                                                8
                                                    No. 19 with ECF. No. 52.
                                                9
                                                           Though Defendant repeatedly insists that this Court consider factual allegations contained
                                               10
                                                    in Plaintiffs’ prior pleadings, learning of new information through discovery is exactly the type
                                               11
                                                    of good cause that warrants the amendment of a pleading. See, e.g., Fru-Con Const. Corp. v.
                                               12
                                                    Sacramento Mun. Utility Dist., 2006 WL 3733815 at *5 (E.D. Cal., Dec. 15, 2006); see also,
                                               13
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                                                    Gorsuch, LTD., B.C. v. Wells Fargo Nat. Bank Ass’n, 771 F.3d 1230, 1240 (10th Cir. 2014).
                                               14
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                                               15
                                                    Indeed the dismissal of a party defendant, because Plaintiffs reviewed the evidence and

                                               16 determined they were not liable then amended their complaint is exactly how a party should

                                               17 proceed pursuant to new fact learned in discovery. See generally, FRCP 11.

                                               18                      III.    FACTUAL CONTEXT

                                               19          On May 28, 2020, Wendy Chau, her sister and Plaintiff Morales’ infant child, Plaintiff
                                               20 S.M., visited the Hilton Hotel in San Francisco. (Plaintiffs’ Third Amended Complaint [TAC], at

                                               21
                                                    Doc. 52, ¶ 13). Plaintiff Morales went to visit Ms. Chau, her sister and his infant child, S.M., and
                                               22
                                                    entered the hotel. (TAC ¶¶ 14-15). After a short conversation with security in which he explained
                                               23
                                                    he was visiting a registered guest, the employee permitted him to go with Ms. Chau’s sister to
                                               24
                                                    her hotel room. (TAC ¶ 15).
                                               25



                                                                                         PLTF OPP TO DEF CCSF MTD
                                                                                          Morales, et al. v. CCSF, et al.
                                                                                                         3
                                                            Case 3:21-cv-03957-EMC Document 57 Filed 03/22/22 Page 4 of 11




                                                           Afterwards, Plaintiff Morales left the hotel with his infant daughter in his arms, joined by
                                                1
                                                    a friend. (TAC ¶17). Without warning, Defendants Russell Fong and Ryan Lau—both officers of
                                                2

                                                3 the San Francisco Police Department—yanked Plaintiff Morales’ arm behind his back, causing

                                                4 him to nearly dropped his infant baby. (TAC ¶ 17). Plaintiff Morales initially thought he was

                                                5 being mugged, pulling his arm away before realizing that the people grabbing him were police

                                                6 officers. (TAC ¶17). Defendants Fong and Lau grabbed and twisted Plaintiff Morales’ arm while

                                                7 he held onto his baby and asked why he was being detained. (TAC ¶ 18).

                                                8
                                                           Plaintiff Morales continued asking Defendants Fong and Lau why he was being detained.
                                                9
                                                    (TAC ¶ 19). The Defendant Officers lied, telling Plaintiff Morales that he was seen having an
                                               10
                                                    argument with his wife and that they got a call about a kidnapping/child custody issue. (TAC ¶
                                               11
                                                    19). Defendants Fong and Lau then asked Plaintiff Morales whether his daughter was his own,
                                               12
                                                    despite having no reasonable suspicion that Plaintiff Morales’ child was not his. (TAC ¶ ¶ 17,
                                               13
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                                                    19).
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                                               15
                                                           Defendants Fong and Lau refused to believe Plaintiff Morales’ statements that the child

                                               16 in his arms was his daughter, insisting that he prove his relationship to his daughter. (TAC ¶ 21).

                                               17 The Defendant Officers continued to lie and accuse Plaintiff Morales, an African-American, of

                                               18 not being the biological father of his daughter, who appeared Asian-American. (TAC ¶¶ 21, 23).

                                               19          Plaintiff Morales complied with the Defendants Fong and Lau’s unreasonable demands,
                                               20 instructing his friend to call his fiancé, the mother of his child. (TAC ¶ 22). Defendant Lau

                                               21
                                                    falsely told Plaintiff Morales that this what the Defendant Officers had been asking him to do
                                               22
                                                    originally. (TAC ¶ 22). When Plaintiff Morales pointed out that this was untrue, and Defendant
                                               23
                                                    Lau had in fact initiated the detention by challenging him to hit the officer, Defendant Lau
                                               24
                                                    responded by again challenging Plaintiff Morales to fight, bumping him with his chest and
                                               25



                                                                                        PLTF OPP TO DEF CCSF MTD
                                                                                         Morales, et al. v. CCSF, et al.
                                                                                                        4
                                                             Case 3:21-cv-03957-EMC Document 57 Filed 03/22/22 Page 5 of 11




                                                    aggressively exclaiming “Come on” in another unexplainable attempt to initiate a fight with a
                                                1
                                                    civilian. (TAC ¶ 22). Defendant Fong was forced to intervene in order to calm down his overly-
                                                2

                                                3 aggressive fellow Defendant. (TAC ¶ 23).

                                                4          When Plaintiff Morales’ fiancé saw what was occurring, she approached him and the

                                                5 Defendant Officers and explained that the child was Plaintiff Morales’ daughter. (TAC ¶24).

                                                6 Defendants Fong and Lau continued to act aggressively in response, initially refusing to believe

                                                7 the couple before finally terminating the detention. (TAC ¶24).

                                                8
                                                                                           IV.      LEGAL STANDARD
                                                9
                                                           A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) tests the legal
                                               10
                                                    sufficiency of the claims alleged in the complaint. Ileto v. Glock Inc., 349 F.3d 1191, 1199-200
                                               11
                                                    (9th Cir. 2003). To survive a motion to dismiss, a complaint must plead sufficient “factual
                                               12
                                                    matter, accepted as true” to “allow[] the court to draw the reasonable inference that the defendant
                                               13
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                                                    is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). In assessing
                                               14
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                                               15
                                                    the sufficiency of a plaintiff’s pleadings, “the factual allegations that are taken as true must

                                               16 plausibly suggest an entitlement to relief, such that it is not unfair to require the opposing party

                                               17 to be subjected to the expense of discovery and continued litigation.” Id.

                                               18          A Rule 12(b)(6) motion to dismiss tests the formal sufficiency of the complaint. There is

                                               19 a strong presumption against dismissing an action for failure to state a claim. See Gilligan v.

                                               20 Jamco Dev. Corp., 108 F.3d 246, 249 (9th Cir. 1997). The Rule 12(b)(6) issue is not whether the

                                               21
                                                    plaintiff will ultimately prevail, but whether the plaintiff is entitled to offer evidence to support
                                               22
                                                    the claims. Jackson v. Carey, 353 F .3d 750, 755 (9th Cir. 2003). “In sum, for a complaint to
                                               23
                                                    survive a motion to dismiss, the non-conclusory factual content, and reasonable inferences from
                                               24

                                               25



                                                                                          PLTF OPP TO DEF CCSF MTD
                                                                                           Morales, et al. v. CCSF, et al.
                                                                                                          5
                                                             Case 3:21-cv-03957-EMC Document 57 Filed 03/22/22 Page 6 of 11




                                                    that content, must be plausibly suggestive of a claim entitling the plaintiff to relief.” Moss v. U.S.
                                                1
                                                    Secret Service, 572 F.3d 962 (9th Cir. 2009) (internal quotation marks omitted).
                                                2

                                                3                                               V.        ARGUMENT

                                                4                  A. DEFENDANTS LAU AND FONG DID NOT HAVE REASONABLE
                                                                      SUSPICION TO DETAIN PLAINTIFF MORALES
                                                5
                                                           Plaintiffs’ TAC clearly demonstrates the validity of its unlawful seizure claim under the
                                                6
                                                    Fourth Amendment in two ways. First, it points out the absence of any basis upon which
                                                7
                                                    Defendants Lau and Fong could claim that they had reasonable suspicion to believe that Plaintiff
                                                8

                                                9 Morales’ child was not his own. Second, it identifies what appears to be the illegitimate basis of

                                               10 Defendants Lau and Fong’s unlawful detention of Plaintiff Morales—the fact that Plaintiff

                                               11 Morales, an African-American man, was with his daughter, an Asian-American infant. As this is

                                               12 not a crime nor can it be a predicate for suspicion of a crime to be superficially a different

                                               13 ethnicity than your child, Plaintiffs’ TAC sufficiently alleges a factual basis upon which the
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                                                    unlawful detention claim is reasonably based.
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                                               15
                                                           The Fourth Amendment protects people “against unreasonable searches and seizures”
                                               16
                                                    from government actors such as law enforcement officers. U.S. Const., Amend. IV; See Burdeau
                                               17
                                                    v. McDowell, 256 U.S. 465, 475 (1921).
                                               18
                                                           In the absence of a valid warrant, the police may generally not stop and detain an
                                               19
                                                    individual for investigation absent a reasonable belief that criminal or otherwise dangerous
                                               20
                                                    activity is afoot. United States v. Cortez, 449 U.S. 411, 417-418 (1981).
                                               21

                                               22          Indeed, the most fundamental limit on a law enforcement officer’s authority to seize

                                               23 persons is the requirement that the police not interfere with the freedom of private persons unless

                                               24 it be for specific, legitimate reasons. See Terry v. Ohio, 392 U.S. 1, 21, (1968). Under Terry v.

                                               25 Ohio, 392 U.S. 1 (1968), “an officer may, consistent with the Fourth Amendment, conduct a



                                                                                          PLTF OPP TO DEF CCSF MTD
                                                                                           Morales, et al. v. CCSF, et al.
                                                                                                          6
                                                             Case 3:21-cv-03957-EMC Document 57 Filed 03/22/22 Page 7 of 11




                                                    brief, investigatory stop when the officer has a reasonable, articulable suspicion that criminal
                                                1
                                                    activity is afoot.” Illinois v. Wardlow, 528 U.S. 119, 123, (2000); see also United States v.
                                                2

                                                3 Bontemps, 977 F.3d 909, 913 (9th Cir, 2020).

                                                4          Here, the facts in the TAC, taken as true, clearly suggest that Defendants Lau and Fong

                                                5 had no such reasonable suspicion for their detention of Plaintiff Morales and thus violated the

                                                6 Fourth Amendment. The hotel permitted Plaintiff to enter the hotel after a conversation and then

                                                7 leave with his daughter. Defendants Fong and Lau had no information suggesting that Plaintiff

                                                8
                                                    Morales had committed any crime, let alone information suggesting that he did not have the right
                                                9
                                                    to take his own daughter with him. Instead, they deduced from a superficial racial difference
                                               10
                                                    between a father and his daughter that Plaintiff Morales was kidnapping a child. This alone
                                               11
                                                    cannot substantiate reasonable suspicion of a criminal activity to sustain a detention – much less
                                               12
                                                    an arrest. See, e.g. Lopez v. City of Glendora, 811 Fed. Appx. 1016, 1018 (9th Cir. 2020)
                                               13
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                                                    (holding that the combination of “broad racial profiles”, a suspect’s clothing, and “the nature of
                                               14
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                                               15
                                                    the [suspected] crime” are not sufficient to constitute the basis of reasonable suspicion); see also
                                                                                            th
                                               16 Liberal v. Estrada, 632 F.3d 1064, 1078 (9 Cir. 2011) (“avoidance of the police, standing alone,

                                               17 does not give rise to a particularized, reasonable suspicion that a person is committing a crime”).

                                               18          Defendants further argue that Officers knew that a kidnapping was going on because they

                                               19 had training parents kidnap as well, but officers cannot draw inferences to substantiate a

                                               20 detention solely based on information derived from their training. See Kansas v. Glover, 140 S.

                                               21
                                                    Ct. 1183, 1189 (2020) (“Nothing in our Fourth Amendment precedent supports the notion that, in
                                               22
                                                    determining whether reasonable suspicion exists, an officer can draw inferences based on
                                               23
                                                    knowledge gained only through law enforcement training and experience. We have repeatedly
                                               24
                                                    recognized the opposite.”).
                                               25



                                                                                         PLTF OPP TO DEF CCSF MTD
                                                                                          Morales, et al. v. CCSF, et al.
                                                                                                         7
                                                             Case 3:21-cv-03957-EMC Document 57 Filed 03/22/22 Page 8 of 11




                                                           Indeed, the major thrust of Defendants argument rely on allegations that Plaintiffs made
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                                                    when he was not privy to discovery in prior iterations of their complaint, which is an apparent
                                                2

                                                3 concession that the evidence and factual allegations in the Third Amended Complaint have

                                                4 detailed sufficient factual information to proceed – and must proceed.

                                                5          For all of these reasons, Plaintiff’s Unlawful Detention Claim must proceed.

                                                6                  B. DEFENDANTS FONG AND LAU’S USES OF FORCE WERE
                                                                      EXCESSIVE BECAUSE NO FORCE OF ANY KIND WAS JUSTIFIED
                                                7                     GIVEN THE CIRCUMSTNACES
                                                8
                                                           In evaluating a Fourth Amendment claim of excessive force, courts ask “whether the
                                                9
                                                    officers' actions are ‘objectively reasonable’ in light of the facts and circumstances confronting
                                               10
                                                    them.” Graham v. Connor, 490 U.S. 386, 397 (1989). This inquiry “requires a careful balancing
                                               11
                                                    of ‘the nature and quality of the intrusion on the individual's Fourth Amendment interests against
                                               12
                                                    the countervailing governmental interests at stake.” Id. at 396 (quoting Tennessee v. Garner, 471
                                               13
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                                                    U.S. 1, 8 (1985)).
                                               14
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                                               15
                                                           Here, Plaintiffs’ facts alleged in the TAC identify two uses of force that are excessive

                                               16 under the Fourth Amendment: Defendants Lau and Fong aggressively grabbing and yanking

                                               17 Plaintiff Morales’ arms while he held his infant in his arms, and Defendant Lau initiating

                                               18 physical contact with Plaintiff Morales while challenging him to fight. Both of these instances

                                               19 constitute plausible claims of excessive force that preclude dismissing Plaintiffs’ excessive force

                                               20 cause of action.

                                               21
                                                           Taken as true, the facts in Plaintiffs’ TAC show that Defendants Fong and Lau had no
                                               22
                                                    legitimate reason to use any level of force against Plaintiff Morales. As discussed in the previous
                                               23
                                                    section, the Defendant Officers had no basis for suspecting Plaintiff Morales was involved in any
                                               24
                                                    criminal activity. Regardless of whether the Defendant Officers had a reasonable suspicion,
                                               25



                                                                                         PLTF OPP TO DEF CCSF MTD
                                                                                          Morales, et al. v. CCSF, et al.
                                                                                                         8
                                                             Case 3:21-cv-03957-EMC Document 57 Filed 03/22/22 Page 9 of 11




                                                    however, no force was needed in the encounter between Plaintiff Morales and Defendants Fong
                                                1
                                                    and Lang because Plaintiff Morales was not attempting to flee, was compliant, and did not
                                                2

                                                3 display any threatening or potentially violent behavior. See, e.g., Marella v. City of Bakersfield,

                                                4 2010 WL 3386465 at *9 (E.D. Cal. Aug. 26, 2010) (“[A] law enforcement officer may not use

                                                5 force on a compliant suspect already under the officer’s control and not resisting detention or

                                                6 trying to flee”); see also, Sants v. Seipert, 2021 WL 4652892 at *4 (E.D. Cal. Feb. 9, 2021)

                                                7 (“Reactive defensive movements” such as pulling away from an officer’s grasp does not indicate

                                                8
                                                    any danger posed to officers that would justify the use of force).
                                                9
                                                           At a minimum, Plaintiffs’ facts in the TAC plausibly suggest that Defendants Lau and
                                               10
                                                    Fong did not have reason to use any force against Plaintiff Morales. In such circumstances, the
                                               11
                                                    use of any force is unconstitutional. See Kassim Abdulkhalik v. City of San Diego, 2009 WL
                                               12
                                                    4282004 at *7 (S.D. Cal. Nov. 25, 2009) (“The law is clear that use of force when no force is
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                                                    necessary amounts to a violation of one’s Fourth Amendment right to be free from excessive
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                                               15
                                                    force.”) For the aforementioned reasons, the TAC contains sufficient facts to present a viable

                                               16 excessive force claim and thus must not be dismissed at this juncture.

                                               17                  C. PLAINTIFFS’ TAC PRESENTS VIALBLE STATE LAW CLAIMS
                                                                      THAT MUST PROCEED
                                               18
                                                                           1. PLAINTIFFS’ ASSAULT AND BATTERY CLAIM
                                               19
                                                           Plaintiffs concur with Defendants that their assault and battery claims must be predicated
                                               20
                                                    on showing that the Officers used unreasonable force. See, e.g., Nelson v. City of Davis, 709 F.
                                               21

                                               22 Supp. 2d 978, 992 (E.D. Cal. 2010) (holding that “it is clear that an assault and battery claim against

                                               23 a police officer requires that unreasonable force be established”).

                                               24          “When the governmental interests at stake are substantial, a greater intrusion upon the Fourth

                                               25 Amendment rights of the person may be justified. Conversely, when the governmental interest is



                                                                                         PLTF OPP TO DEF CCSF MTD
                                                                                          Morales, et al. v. CCSF, et al.
                                                                                                         9
                                                            Case 3:21-cv-03957-EMC Document 57 Filed 03/22/22 Page 10 of 11




                                                    insubstantial, the application of even minimal force may be unreasonable.” See Nelson v. City of
                                                1
                                                    Davis, 685 F.3d 867, at 878 (9th Cir. 2012) [emphasis added]. As explained in Section B, the force
                                                2
                                                    used by Defendants Lau and Fong was unreasonable because the interaction between the
                                                3

                                                4 Defendant Officers and Plaintiff Morales did justify the use of any force whatsoever.

                                                5 Accordingly, Plaintiffs’ assault and battery claim must proceed.

                                                6                          2. PLAINTIFFS’ NEGLIGENCE CLAIM

                                                7          The California Supreme Court has long held that an officer’s lack of due care can give
                                                8 rise to negligence liability. Munoz v. Olin, 24 Cal.3d 629, 634 (1979) (citing Grudt v. City of Los

                                                9
                                                    Angeles, 2 Cal.3d 575, 587 (1970)). In this context, to prove the tort, the parties agree that a
                                               10
                                                    plaintiff must show that the officer violated his “duty to use reasonable force under the totality of
                                               11
                                                    the circumstances.” See Brown v. Ransweiler, 171 Cal.App.4th 516, 526, fn.10 (2009).
                                               12
                                                           As discussed in Sections B and C(1), the facts in Plaintiffs’ TAC, taken as true,
                                               13
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                                                    demonstrate that Defendants Lau and Fong’s use of force was unreasonable under the
                                               14
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                                                    circumstances and thus suggests a plausible violation of their duty to use reasonable force. For
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                                               15

                                               16 these reasons, Plaintiffs’ negligence claim must proceed.

                                               17                          3. PLAINTIFF S.M.’S NEGLIGENT INFLICTION OF
                                                                              EMOTIONAL DISTRESS CLAIM
                                               18
                                                           The parties again agree that Plaintiff S.M.’s negligent infliction of emotional distress pled
                                               19
                                                    vicariously against the City must be predicated on Plaintiff Morales negligence claim. However,
                                               20
                                                    again, Plaintiff disputes that the TAC did not describe unreasonable force.
                                               21

                                               22
                                                                                              VI.      CONCLUSION

                                               23          For all of the aforementioned reasons, the Court should DENY Defendant City’s motion

                                               24 in its entirety.

                                               25 /



                                                                                         PLTF OPP TO DEF CCSF MTD
                                                                                          Morales, et al. v. CCSF, et al.
                                                                                                        10
                                                         Case 3:21-cv-03957-EMC Document 57 Filed 03/22/22 Page 11 of 11




                                                1 Date: March 21, 2022                   Respectfully submitted,
                                                                                         /s/ Patrick Buelna
                                                2                                        PATRICK M. BUELNA
                                                                                         COUNSEL FOR PLAINTIFF
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                                                                              PLTF OPP TO DEF CCSF MTD
                                                                               Morales, et al. v. CCSF, et al.
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